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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Tamika Williams
                                            Plaintiff,
v.                                                          Case No.: 1:24−cv−03631
                                                            Honorable Jeremy C. Daniel
Illinois Department of Human Services
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 1, 2024:


         MINUTE entry before the Honorable Maria Valdez: This case has been referred to
Judge Valdez for discovery supervision and to handle settlement matters. The parties are
to file an agreed proposed discovery schedule by 7/11/24. Mailed notice(lp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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